Case 8:23-cv-02333-SDM-AEP Document 37 Filed 03/25/24 Page 1 of 23 PageID 211




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA

BEN DAVIS, individually and
on behalf of all others similarly situated,


                 Plaintiff,                         Case No. 8:23-CV-02333-SDM-AEP

v.


CR FITNESS HOLDINGS, LLC,

                 Defendant.
                                                /




        PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO
     DEFENDANT’S MOTION FOR SANCTIONS AND REQUEST FOR FEES



                                         Matthew J. Langley
                                          David S. Almeida*
                                         Britany A. Kabakov*
                                  ALMEIDA LAW GROUP LLC
                                       849 W. Webster Avenue
                                        Chicago, Illinois 60614
                                            (312) 576-3024
                                    matt@almeidalawgroup.com
                                    david@almeidalawgroup.com
                                   brtiany@almeidalawgroup.com
Case 8:23-cv-02333-SDM-AEP Document 37 Filed 03/25/24 Page 2 of 23 PageID 212




      Plaintiff Ben Davis and undersigned counsel, pursuant to Federal Rule of Civil

Procedure 11, 28 U.S.C. § 1927 and the Court’s inherent authority, respectfully request

that this Honorable Court deny Defendant CR Fitness Holdings, LLC’s (“CR Fitness”

or “Defendant”) Motion for Sanctions and instead award Plaintiff fees and expenses

incurred in responding to Defendant’s motion.

                                 INTRODUCTION

      On October 13, 2023, Plaintiff filed his putative class action lawsuit alleging

violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (the

“TCPA”) based on his receipt of an unconsented call advertising the opening of a CR

Fitness location near his home in Plano, Texas. See generally DE 1 (the “Complaint”

or “Compl.”). Whether Plaintiff sufficiently alleges that Defendant violated the TCPA

is a question pending before this Court. See DE 24 & DE 29.

      Plaintiff’s Complaint is replete with allegations that give rise to a plausible

inference that Defendant violated the TCPA. For example, Plaintiff alleges that on or

about October 6, 2023, Defendant made an unconsented prerecorded voice call from

a phone number ending in 1660 to Plaintiff’s cellular telephone number ending in

3278. See Compl. ¶ 25. Plaintiff does not rely on conclusory or threadbare allegations;

rather, the Complaint specifically alleges or includes:

             1) date and time of the call, October 6, 2023, 12:33 p.m. (Compl. ¶ 25)

             2) the last four digits of his cell phone number that received the call, (Id.)

             3) a screenshot of the voicemail message that identified the telephone

                                            1
Case 8:23-cv-02333-SDM-AEP Document 37 Filed 03/25/24 Page 3 of 23 PageID 213




                     number (ending in 1660) that made the call, (Id.)

                 4) a transcript of the pre-recorded message left on Plaintiff’s voicemail
                    that identifies Defendant as the caller, (Id., ¶ 27)

                 5) a link to a website identifying spam phone calls which reports forty-
                    four spam phone calls from the same number ending in 1660 on the same
                    date Plaintiff alleges to have received his call (Id., ¶ 28, n. 5),1 and

                 6) links to articles evidencing CR Fitness’ opening of its Crunch Fitness
                    location in Plano, Texas in October 2023. (Id., ¶ 19-21, n. 1-4)

          Notably, CR Fitness admits that it made pre-recorded calls with the exact

message that Plaintiff received—on the exact date that Plaintiff alleges to have received

his call—to phone numbers in the Plano, Texas area where Plaintiff lives. See DE 28

at 3; DE 28-1, ¶¶ 5 & 9-10. But Defendant wants this Court to disregard those well-

pled allegations. As the factual predicate for its argument, Defendant contends that

this Court should take its word that it did not make the violative call. That is, rather

than permit this Court to decide whether Plaintiff has set forth sufficient allegations

stating a claim warranting discovery, Defendant wants to bypass that process because

it supposedly cannot find a record of the call. See DE 28-1. Defendant’s denials are not

grounds to dismiss a claim at the pleading stage. And Defendant’s self-serving denials

are certainly not grounds to file a Rule 11 motion for sanctions, which is to be exercised

with extreme caution and is intended for pleadings that have no reasonable factual or

legal basis. See, e.g., Souran v. Travelers Ins. Co., 982 F.2d 1497, 1506 (11th Cir. 1993).

          Defendant insists that there is no evidence of a call to Plaintiff (DE 28 at 9) but,



1
    See https://lookup.robokiller.com/p/214-910-1660 (last accessed March 15, 2024).

                                                  2
Case 8:23-cv-02333-SDM-AEP Document 37 Filed 03/25/24 Page 4 of 23 PageID 214




as detailed infra, Plaintiff has provided more than sufficient evidence of the call he

received. In addition to the Complaint’s allegations, when counsel for Defendant

represented that it could not find the call in its records, plaintiff’s counsel shared with

defense counsel additional evidence of the call. As a result, even though the parties are

not in discovery yet, defense counsel is in possession of the following:

           A screenshot of Plaintiff’s voicemail log demonstrating that a voicemail
            from the number 214-910-1660, originating in Grapevine, Texas, left a
            recording on the voicemail of Plaintiff’s cellular telephone on October 6,
            2023 at 12:33 PM lasting a total of 39 seconds (Compl. ¶ 25);

           A recording of the prerecorded phone message left on Plaintiff’s
            voicemail, which transmitted the following message in English and then
            again in Spanish:

                    It’s Crunch time! Our Plano location is having their one
                    day only cyber sale starting 12:01 a.m. October 7th. Only
                    the first 500 members will receive our founders rate and
                    free Crunch flag. Sign up at CrunchPlano.com and don’t
                    forget to tell your friends (Ex. A. ¶¶ 7-8);

           A screenshot of the call log of Plaintiff’s cellular phone which
            demonstrates that Plaintiff received a missed call from the number 214-
            910-1660 on October 6, 2023 at 12:33 PM (Ex. A. ¶ 13); and

           A video of Plaintiff: (i) opening his cell phone to the home screen, (ii)
            navigating to “settings,” showing that his full name is identified on the
            phone, (iii) showing that the number ending in 3278 is the number of the
            cell phone in the video, (iv) navigating to his voicemail page which shows
            that a 39 second voicemail from the number 214-910-1660 was received
            on October 6, 2023 at 12:33 p.m. and (v) playing the prerecorded
            voicemail at issue in full. (Ex. A. ¶ 22).

      The evidence Plaintiff has shared with Defendant, through counsel, attests to

counsel’s pre-suit and ongoing investigation and the factual basis for Plaintiff’s filing.

      Defendant states with certainty that “CR Fitness never called [Plaintiff].” DE


                                            3
Case 8:23-cv-02333-SDM-AEP Document 37 Filed 03/25/24 Page 5 of 23 PageID 215




28 at 1. Defendant bases its Motion for Sanctions only on the following: (i) a self-

serving affidavit by CR Fitness’ Chief Marketing Officer [DE 28-1], (ii) an almost

entirely redacted phone record of a seven minute period on October 6, 2023 for calls

made by the number ending in 1660 (Ex. A, ¶ 19) and (iii) an almost entirely redacted

cell phone bill for an irrelevant cell phone number ending in 3619. (Ex. A, ¶ 20).

      CR Fitness asks this Court to make a factual determination based on these

records to dismiss the well-pleaded Complaint and also to sanction Plaintiff and his

counsel. But Plaintiff is entitled to examine the veracity of Defendant’s affidavit, as

well as the phone records submitted by Defendant through discovery.

      Moreover, Defendant’s so-called evidence is inadequate for the relief it requests.

For example, the affidavit of Ms. Kendall Lanese admits that CR Fitness made

prerecorded calls on October 6, 2023 to promote the Plano, Texas location but insists

that she looked and did not locate Plaintiff’s number amongst those that received

Defendant’s calls. See DE 28-1, ¶¶ 5-10 & 14-18. However, in her affidavit, Ms. Lanese

fails to identify the “sole vendor” CR Fitness purportedly uses, how the vendor’s call

logs were maintained, how she is sure there are not other call logs used by the vendor,

how she confirmed that CR Fitness did not utilize other vendors to make prerecorded

calls or how she searched the “records relating to the Founders’ Day sale call.” See

generally DE 28-1. Defendant asks Plaintiff and the Court to accept Ms. Lanes’ affidavit

without an opportunity to cross-examine her or to conduct discovery.

      The call records produced by Defendant likewise do not answer Plaintiff’s


                                           4
Case 8:23-cv-02333-SDM-AEP Document 37 Filed 03/25/24 Page 6 of 23 PageID 216




questions. For instance, the first call record produced by Defendant purports to be of

calls made from the number ending in 1660 on October 6, 2023 during the time

Plaintiff received his call. See Ex. A, ¶ 19. But this call record is almost entirely redacted

and there is no information identifying the details of where these records were

produced. Moreover, despite purporting to be for calls made on and around 12:33

p.m., the records appear to be for calls made at and around 1:33 p.m. (13:31 to 13:38

p.m.). Id. The second call records are irrelevant as the only unredacted data relates to

calls involving a phone number ending in 3619—a number unconnected to Plaintiff’s

claims—almost all of which are incoming calls. See id., ¶ 20.

       Plaintiff and undersigned counsel do not wish to engage in a recrimination

filing, but the law is clear that “the filing of a motion for sanctions is itself subject to

the requirements of [Rule 11] and can lead to sanctions.” Smith v. Psychiatric Sols., Inc.,

750 F.3d 1253, 1260 (11th Cir. 2014) (quoting FED.R.CIV.P. 11 advisory committee’s

note). Given the factual evidence Plaintiff presented to defense counsel regarding the

call that Plaintiff received, the insufficiency of Defendant’s “evidence” and the

corroborating allegations in the Complaint, there can be little doubt that Defendant’s

Motion for Sanctions was filed with no reasonable basis. Instead, defense counsel filed

its Motion in bad faith to harass Plaintiff into dismissing his well-pleaded Complaint,

to avoid discovery into the source of the unlawful prerecorded calls, to intimidate

Plaintiff into dropping his claim before responding to Defendant’s motion to dismiss

and, most notably, to influence this Court into prejudging Plaintiff’s case.


                                              5
Case 8:23-cv-02333-SDM-AEP Document 37 Filed 03/25/24 Page 7 of 23 PageID 217




       Understandably, courts generally throw up their hands in the face of competing

requests for sanctions, but here Defendant’s conduct is so egregious, having filed its

Rule 11 Motion with no reasonable basis, in bad faith and for an improper purpose,

that defense counsel should be sanctioned and Plaintiff should be awarded fees and

costs incurred for opposing the Motion. See Smith, 750 F.3d 1260 (holding “district

court did not abuse its discretion in awarding Appellees’ fees for the costs they incurred

opposing Smith’s Rule 11 motion”).

                                   BACKGROUND

       Plaintiff Davis received an unsolicited phone call from Defendant using a pre-

recorded voice. His allegations detail when the call was received, the substance of the

pre-recorded message, the phone number from which the call came and the phone

number that received the call. See Compl., ¶¶ 24-33. The Complaint includes a

screenshot of the voicemail with the date and time the call was received, the number

that made the call and the length of the voicemail. Id., ¶ 25. The Complaint also

includes a transcript of the prerecorded call, transcribing the message received by

Plaintiff, a marketing call advertising a “one day only cyber sale” for Defendant’s

Plano, Texas location. Id., ¶ 27. The Complaint states that there are dozens of reports

of other prerecorded spam calls coming from the same number ending in 1660 and

includes a link to a website substantiating this allegation. Id., ¶ 28.

       Defense counsel first reached five days after the Complaint was filed and

informed undersigned counsel that a number ending in “3258 had provided prior


                                             6
Case 8:23-cv-02333-SDM-AEP Document 37 Filed 03/25/24 Page 8 of 23 PageID 218




consent” to “receive SMS text alerts from Crunch” and requested that Plaintiff share

his full telephone number. See Ex. A, ¶ 4. Undersigned counsel responded the next day

to (i) correct defense counsel that the last four digits of Plaintiff’s number was not

“3252” but 3278 as had been clearly alleged in the Complaint (see Complaint, ¶¶ 6 &

23) and (ii) provide Plaintiff’s full telephone number. Id., ¶ 5.2

        Defense counsel contacted Plaintiff again on October 25, 2023 to state that they

had their “client check its systems so we could provide a consent” but had been unable

to locate a record of the call and to request that Plaintiff forward the message to defense

counsel. Id., ¶ 6. Two days later, undersigned counsel——after again conferring with

Plaintiff—provided defense counsel both a screenshot of the voicemail page and

recording of the voicemail Plaintiff received. Id., ¶ 7.

        Despite this, on November 3, 2023, defense counsel sent a letter reiterating its

inability to locate the call and demanding that the Complaint be dismissed “to avoid

further motion practice and needless expense incurred on these issues.” Id., ¶ 9. The

majority of Defendant’s letter dealt with its system for obtaining consent from

customers to “receive SMS marketing text messages”3 and arguing that Defendant’s


2
  Additionally, Plaintiff—who has been on the do not call registry since December 2011—does not
want to provide his full cellular telephone number on the public docket, having already been the target
of Defendant’s unwanted prerecorded call. However, Defendant includes Plaintiff’s personal phone
number in full on page 7 of its Motion to Dismiss without bothering to redact any part of the number.
See DE 24 at 7. Plaintiff’s Counsel requested that defense counsel file a redact version of its Motion to
Dismiss with all but the last four digits of Plaintiff’s phone number redacted but they refused to do so.
See Ex. A, ¶ 25. Plaintiff respectfully requests that the Court order Defendant to withdraw its Motion
to Dismiss and file a new motion with Defendant’s number partially redacted.
3
  Thus, where CR Fitness actually managed to secure putative consent from individuals, it was only
to send “SMS marketing text messages” and not the pre-recorded calls that Plaintiff and Class

                                                   7
Case 8:23-cv-02333-SDM-AEP Document 37 Filed 03/25/24 Page 9 of 23 PageID 219




membership agreement binds its members to submit claims to arbitration. Id.

Defendant inexplicably made these arguments despite acknowledging that Plaintiff

was neither a member nor had provided consent to receive calls to his cell phone.

      On November 10, 2023, undersigned counsel responded by pointing out that

the Complaint’s allegations are more than sufficient to state a claim, the factual

evidence that Plaintiff provided to Defendant supports Plaintiff’s claim and Plaintiff

did not consent to receive calls nor is he bound by the terms of Defendant’s

membership agreement. Id., ¶ 12. In addition, Plaintiff attached to the response letter,

the recording of the voicemail and screenshot of the voicemail log as well as a

screenshot of the call log that showed Plaintiff receiving a missed call from the number

ending in 1660 on October 6, 2023 at 12:33 p.m. See Ex. A, ¶ 13.

      Plaintiff’s November 10, 2023 letter also responded to two misperceptions from

Defendant that it continues to put forth in its Motion for Sanctions. The first is the

unsupported contention that Plaintiff manufactured this litigation by utilizing some

sort of call forwarding feature to forward calls to Plaintiff’s phone from another

number. As Plaintiff’s counsel stated in its Response Letter, it conferred with Plaintiff

who was unequivocal in stating that he did not have any calls forwarded to his phone

number ending in 3278 or from any other number. See id., ¶ 14.

      The second misconception concerns a call Plaintiff made to Defendant’s 1660

number on November 2, 2023, three weeks after his Complaint was filed. See DE 28


Members received from Defendant.

                                           8
Case 8:23-cv-02333-SDM-AEP Document 37 Filed 03/25/24 Page 10 of 23 PageID 220




 at 4, n. 1. As Plaintiff’s counsel explained in its Response Letter and in subsequent

 conversations with defense counsel, after Defendant continued to insist that it had no

 record of the violative question, Plaintiff called the number that left the voicemail to

 confirm that the source of the number was the Crunch Fitness location in Plano, Texas

 owned by Defendant. Id., ¶ 15. Plaintiff made the call, confirmed that the number did

 belong to CR Fitness and hung up before speaking with anyone. Id. Defendant’s

 suggestion that Plaintiff’s call was “an attempt to create a call log information or to

 induce CR Fitness to return Plaintiff’s call” is a red herring based upon rank

 speculation. As Plaintiff relayed to Defendant in November 2023, this call was made

 post-filing and is irrelevant to the allegations in the Complaint. Id. The fact that

 Defendant continues to parrot this accusation suggests that it is acting with a motive

 to paint Plaintiff as having manufactured his claim in order to influence the Court.

       Thereafter, Counsel for the parties continued to meet and confer amicably.

 After affording Defendant the courtesy of a five-week extension to its responsive

 pleading deadline, DE 17, Plaintiff confirmed for Defendant that the number in the

 Complaint was the only number Plaintiff used, Plaintiff’s email address and that

 Plaintiff did not use call forwarding. Id., ¶ 16. The parties also discussed obtaining

 phone records to further establish the source of the prerecorded call. Plaintiff informed

 defense counsel that Defendant’s call to Plaintiff’s cellular telephone did not appear

 on his AT&T bill because it—having gone straight to voicemail—did not use Plaintiff’s

 data. Id., ¶ 17. Plaintiff confirmed this in conversations with AT&T and through


                                            9
Case 8:23-cv-02333-SDM-AEP Document 37 Filed 03/25/24 Page 11 of 23 PageID 221




 independent research. Id.4 Plaintiff also informed defense counsel that, in order to

 access phone records from AT&T directly, AT&T required a subpoena. Id.

        The parties also discussed CR Fitness producing the phone records it had

 referenced to support its assertion that it did not make the call to Plaintiff. Id. ¶ 18.

 Finally, on January 11, 2023, defense counsel produced heavily redacted phone

 records that it relies on for the relief it seeks here. Id., ¶ 19. As discussed above, the

 first phone record redacts all but seven minutes worth of calls, does not identify the

 source of the records and reflects calls made from 1:31 to 1:38 p.m. on October 6,

 2023—not 12:33 p.m. which is when Plaintiff received his call. Id. The second phone

 record produced is irrelevant as it is a heavily redacted cell phone bill that leaves

 unredacted only calls made and received from a cell phone number ending 3619—not

 the number identified as placing the prerecorded call to Plaintiff. Id., ¶ 20.

        On February 29, 2024. Defendant filed its Motion to Dismiss the Complaint

 and Strike the Class Allegations. DE 25. On the same day, Defendant served its Rule

 11 Notice Letter and attached a copy of its Motion for Sanctions. Id., ¶ 21. During the

 ensuing 21 days, counsel for the parties discussed investigation of the claims as well as

 possible resolution of the case. Id. Those talks continued up until March 1, 2024 when



 4
   The following are cites to AT&T forums that contain information from “AT&T employees”
 confirming that voicemail calls that are not answered do not appear on AT&T bills because the
 customer is not billed for those calls. See https://forums.att.com/conversations/wireless-billing/how-
 may-i-view-missedunanswered-calls-to-my-mobile-online-or-my-bill/5df00e24bad5f2f60610e87c (last
 accessed March 11, 2024); https://forums.att.com/conversations/wireless-billing/why-dont-
 voicemails-appear-on-the-bill/5deff972bad5f2f606b42f05 (last accessed March 11, 2024);
 https://www.att.com/support/article/wireless/KM1042099/ (last accessed March 11, 2024).

                                                  10
Case 8:23-cv-02333-SDM-AEP Document 37 Filed 03/25/24 Page 12 of 23 PageID 222




 the parties agreed to file the joint Case Management Order. DE 27. The parties also

 agreed to extend the time for Plaintiff to respond to the Motion to Dismiss so that they

 could continue to discuss resolution, including the possibility of limited jurisdictional

 discovery and provide the Parties enough time to potentially resolve this action. DE

 25. However, instead of continuing those discussions, Defendant filed the present

 motion—despite the Parties having previously discussed extending the safe harbor

 time period along with the time to respond to the Motion to Dismiss. Id., ¶ 23. Finally,

 defense counsel is evidently also of the opinion that further fact finding is warranted

 because, on March 1, 2024, it propounded discovery on Plaintiff and notice that it

 would be seeking third-party discovery from AT&T. Id., ¶ 24.

                               STANDARD OF REVIEW

        “Rule 11 is an extraordinary remedy, one to be exercised with extreme caution.”

 Menendez v. Signature Consultants, LLC, 2011 WL 6179727, at *1 (S.D. Fla. Dec. 13,

 2011) (quotation omitted). A movant must meet a “steep burden required to impose

 sanctions [u]nder Rule 11.” Emergency Recovery, Inc. v. Hufnagle, 2019 WL 9089594, at

 *1 (M.D. Fla. June 12, 2019) (finding no basis for an award of Rule 11 sanctions and

 inviting respondent to file motion for attorney’s fees). “All doubts regarding whether

 Rule 11 has been violated should be resolved in favor of the signer of the paper. Thus,

 the burden of proof as to whether the signer [h]as violated Rule 11 is on the Rule 11

 movant.” Id. Rule 11 sanctions are appropriate only: (i) when a party files a pleading

 that has no reasonable basis; (ii) when the party files a pleading that is based on a legal


                                             11
Case 8:23-cv-02333-SDM-AEP Document 37 Filed 03/25/24 Page 13 of 23 PageID 223




 theory that has no reasonable chance of success and that cannot be advanced as a

 reasonable argument to change existing law and (iii) when the party files a pleading in

 bad faith for an improper purpose. Souran v. Travelers Ins. Co., 982 F.2d 1497, 1506

 (11th Cir. 1993). As is particularly pertinent here, “Rule 11 sanctions are not

 appropriate merely because factual disputes regarding allegations in a pleading exist.”

 Mitchell v. Int'l Consol. Cos., Inc., 2014 WL 6997609, at *5 (S.D. Fla. Dec. 10, 2014).

                                           ARGUMENT

 I.    THERE IS ABSOLUTELY NO BASIS FOR THE IMPOSITION OF
       SANCTIONS AGAINST PLAINTIFF OR HIS COUNSEL.

        A.      There is Ample Evidence to Support Plaintiff’s Claim.

        As detailed in Plaintiff’s opposition to Defendant’s motion to dismiss, the

 Complaint sufficiently alleges individual and representative claims against Defendant

 for violation of the TCPA. See DE 29. The Complaint’s allegations are based in fact

 and on a straightforward legal theory that survives a 12(b)(6) motion to dismiss.5 Id. at

 8-10. Plaintiff filed his complaint to obtain relief for himself and for class members

 who have suffered harm as result of Defendant’s unlawful conduct. Despite defense

 counsel’s best efforts to muddy the record, Plaintiff does not pursue his claim for an

 improper purpose and Defendant’s Motion for Sanctions should be denied as baseless.

        Plaintiff has set forth and provided substantial evidence supporting his claim

 against CR Fitness. In the Complaint, Plaintiff identified the date and time when he


 5
  Plaintiff has agreed to withdraw Count II which alleges a violation of 47 U.S.C. § 227(c), which
 precludes entities from making telephone solicitation calls to members of the do-not-call registry like
 Plaintiff.

                                                   12
Case 8:23-cv-02333-SDM-AEP Document 37 Filed 03/25/24 Page 14 of 23 PageID 224




 received the prerecorded call, identified the number that made the call (assigned to CR

 Fitness), included a screenshot of the voicemail log demonstrating the date and time

 the call was made and the source of that call, a transcript of the contents of the

 prerecorded call, articles evincing Defendant CR Fitness’ marketing the open of its

 location in Plano, Texas and corroborating evidence that others received similar

 unwanted calls from the same number at the same time. See Compl., ¶¶ 19-28.

       After the Complaint was filed, Plaintiff produced additional evidence including

 a screenshot of his call log, a recording of the voicemail and a video of Plaintiff playing

 the voicemail recording which matched the transcript in the Complaint and identified

 Defendant as the source of the call. See Ex. A., ¶¶ 7, 22. The evidence supports

 Plaintiff’s claim such that Defendant’s Motion is without merit. See Ayala v. Nissan N.

 Am., Inc., 2021 WL 2474435, at *1 (M.D. Fla. Mar. 8, 2021) (denying Rule 11

 sanctions motion which repeated arguments from a pending motion to dismiss).

       B.     CR Fitness’ Argument Regarding Ascertainability is Nonsensical and
              Inappropriate for this Motion.

       After ignoring the factual evidence supporting Plaintiff’s claim and asserting

 that it could not possibly have made the call in question, CR Fitness applies a bit of

 circular logic in next asserting that everyone it did call provided “express written

 consent.” Mot. at 10-11. As Defendant puts it: “[e]ither Plaintiff provided express

 written consent for CR Fitness to contact him (in which case his information would

 be in CR Fitness’s database), or CR Fitness did not call him.” Id. at 11. Of course, as

 the Complaint alleges and the evidence demonstrates, CR Fitness did call Plaintiff and

                                             13
Case 8:23-cv-02333-SDM-AEP Document 37 Filed 03/25/24 Page 15 of 23 PageID 225




 Plaintiff did not consent to that call.

        Though there are no evidentiary cites in this section of Defendant’s brief, we

 can only assume that the basis for its consent argument is the affidavit of Defendant’s

 Chief Marketing Officer. See DE 28-1. There, Ms. Lanese describes Defendant’s

 attempts to obtain consent to bulk text individuals through QR codes and social media

 links that direct individuals to a web form where they opt in to receiving messages

 from CR Fitness. Id., ¶¶ 6-9. 6 According to Defendant, the information of those who

 filled out the form went into a database and then on October 6, 2023 CR Fitness made

 prerecorded calls to the individuals in that data base. Id., ¶ 9-10. So, when Ms. Lanese

 checked that database and apparently did not find Plaintiff’s phone number,

 Defendant found this inquiry sufficient to seek dismissal of Plaintiff’s claim and to seek

 sanctions. The issue with Defendant’s argument (such as it is) is that Plaintiff

 admittedly did not provide prior express written consent to Defendant.

        But the Affidavit does not demonstrate that the call was not made to Plaintiff,

 as CR Fitness claims. Instead, it only establishes that CR Fitness has purportedly not

 yet found the source of the call at issue. Given the fact that the only factual evidence



 6
   There is also a genuine question as to whether any of the individuals who received the prerecorded
 call provided actual consent. Though the affidavit contains the message individuals received after
 purportedly providing consent, it does not include the language that individuals saw when they
 provided consent. That language was included in Defendant’s November 3, 2023 letter to Plaintiff and
 reads: “you are providing your electronic signature and express written consent to receive SMS
 marketing text messages from Crunch.” Ex. A, ¶¶ 9-11. Thus, where CR Fitness managed to secure
 putative consent from individuals, it was only to send “SMS marketing text messages” and not the
 pre-recorded calls that Plaintiff and Class Members received from Defendant. Even where a Class
 Member used the web form to provide consent, consent was insufficient as to the pre-recorded calls.

                                                 14
Case 8:23-cv-02333-SDM-AEP Document 37 Filed 03/25/24 Page 16 of 23 PageID 226




 obtained in the suit thus far, rather than the absence of evidence that CR Fitness is

 standing on, supports the assertion that the call was made, the weight of evidence

 suggests that this illegal pre-recorded call was not an isolated mistake but rather part

 of CR Fitness’ marketing campaign.

       Defendant concludes its argument by asserting that, without a record of the call,

 there will be no way to identify the class. Mot. at 11. Not only does ascertainability

 have no bearing on a sanctions analysis, it has no relevance at all at this stage of the

 case. Ascertainability is an issue for class certification, as demonstrated by the case

 Defendant cites, Sliwa v. Bright House Networks, LLC, an order addressing a class

 certification motion wherein the court found that it could not ascertain a TCPA wrong

 number class without individual inquiry. See 333 F.R.D. 255, 272 (M.D. Fla. 2019).

       C.     CR Fitness’ Bad Faith Argument Contains Misrepresentations and
              Demonstrates Bad Faith in Bringing this Sanctions Motion

       Plaintiff’s claim is supported by ample factual evidence and Defendant does not

 argue that that Plaintiff’s legal theory is unreasonable. Plaintiff filed and continues to

 pursue his claim for a proper purpose, namely to obtain relief for Plaintiff and class

 members who received prerecorded calls in violation of the TCPA. Despite this and

 exhibiting deliberate indifference to the evidence Plaintiff presented, Defendant now

 asserts that Plaintiff’s claims are being pursued in bad faith. See Mot. at 11-13.

       CR Fitness claims that it has conducted an “exhaustive investigation” but the

 facts—even the self-serving ones that Defendant has put forth in its declaration—

 simply do not bear that out. According to Defendant’s own explanation, CR Fitness

                                            15
Case 8:23-cv-02333-SDM-AEP Document 37 Filed 03/25/24 Page 17 of 23 PageID 227




 looked for Plaintiff’s number in the most obvious places: (i) the database of users who

 supposedly provided their information to Defendant, (ii) the Plano, Texas phone

 records, (iii) irrelevant cell phone numbers used in the Plano location and (iv) the

 member database. See DE 28-1, ¶ 13. However, based on the Complaint alone,

 Defendant knows that Plaintiff did not consent to the call thus there would be no

 record of Plaintiff in its “database of users who supposedly provided their information

 to Defendant.” Moreover, since Plaintiff has never been a member of any Crunch

 Fitness, his information would not be in the member database. And, since the calling

 number was assigned to Defendant, Plaintiff was clearly not called by a random cell

 phone number. Defendant’s irrefutable evidence is two phone records, one of which

 includes no indications of where the record came from and the other is for a number

 that is different from the one that made the call to Plaintiff. See Ex. A, ¶¶ 19-20.

       There is no explanation of how C.R. Fitness’ database(s) were searched, the

 names of C.R. Fitness’ lead generation and calling vendors, why we are to believe that

 this was Defendant’s “sole vendor” or that the prerecorded call was not made from

 any other CR Fitness phone. There has been no opportunity to question the vendor(s),

 to depose Ms. Lanese, to request documents, take corporate depositions or determine

 who else was involved in the marketing of the Plano location. Plaintiff has not even

 been provided all of the records that Ms. Lanese supposedly searched or the

 opportunity to question the source, veracity or context of the redacted phone records

 that Defendant has provided. We are to take Defendant at its word that there could


                                             16
Case 8:23-cv-02333-SDM-AEP Document 37 Filed 03/25/24 Page 18 of 23 PageID 228




 not possibly be, for instance, another list of numbers from which the calls originated

 or a second set of calls placed by the sole vendor or another vendor. See Compl., ¶ 28.

 The fact that Defendant would move to dismiss on such flimsy arguments is

 disheartening but the fact that Defendant would seek sanctions is moreso.7

         To support its accusations of bad faith, CR Fitness relies on misrepresentations

 regarding Plaintiff’s conduct. Specifically, Defendant accuses Plaintiff’s counsel of

 “refus[ing] to produce Plaintiff’s [phone] records without explanation.” Mot. at 12.

 First, Plaintiff produced, all of the proof he had that the call was received and that the

 source of the call was Defendant despite the fact that it was under no discovery

 obligation to do so. See Ex. A, ¶¶ 13, 22.

         Plaintiff did not refuse to produce his phone records with no explanation as

 defense counsel has represented to the Court. Instead, plaintiff’s counsel discussed

 with defense counsel that the call did not appear on Plaintiff’s phone bill because the

 prerecorded phone call had gone straight to voicemail without having used any data—

 thus Plaintiff had not been billed for the call. See Ex. A, ¶ 17. Plaintiff’s counsel

 explained to defense counsel that Plaintiff had learned this information after speaking

 to AT&T. Id. Plaintiff’s counsel also informed defense counsel that, in order to obtain

 more information from AT&T about the source of the call, that AT&T required a



 7
   Defendant, in a footnote, is incredulous that Plaintiff would reject the veracity of the redacted phone
 records it produced but has no answer for why it has rejected the evidence Plaintiff has produced. That
 is, video evidence, audio recordings and screenshots that are corroborated by Defendant’s own
 admission that it sent the very prerecorded call saved on Plaintiff’s voicemail on the date and time that
 Plaintiff received that call. See Ex. A, ¶¶ 13, 22; DE 24-1, ¶¶ 5, 10-11.

                                                    17
Case 8:23-cv-02333-SDM-AEP Document 37 Filed 03/25/24 Page 19 of 23 PageID 229




 subpoena. Id. On the same day that Defendant filed this Motion, it provided notice of

 an overbroad subpoena it intends to serve on AT&T despite being so certain that the call

 was not placed that it has requested sanctions for Plaintiff’s and his counsel’s conduct. It is

 untrue to represent that Plaintiff’s counsel refused to produce Plaintiff’s phone records.

 And it is improper to call Plaintiff’s conduct bad faith when it had already produced

 the evidence in its possession. Finally, defense counsel has the temerity to characterize

 the phone records it produced as “unrebutted evidence” while threatening Plaintiff

 with sanctions before Plaintiff has the opportunity to examine and rebut that evidence

 through discovery. Plaintiff made a good faith filing of the action and the issues

 Defendant raises go to issues that can be resolved through discovery. Defendant’s

 patently self-serving and baseless motion for sanctions should be denied.

 II.    DEFENDANT AND DEFENSE COUNSEL SHOULD BE SANCTIONED
        FOR FILING THE RULE 11 MOTION FOR AN IMPROPER PURPOSE.

        Defendant had no reasonable basis for the filing of its Motion. Instead,

 Defendant filed it for the improper purposes of harassing Plaintiff into dismissing his

 well-pleaded Complaint, to avoid discovery by Plaintiff into the source of the unlawful

 prerecorded call, to intimidate Plaintiff into dropping his claim before responding to

 Defendant’s motion to dismiss, to vexatiously multiply the proceeding in this case in

 order to force Plaintiff to spend time and expense to respond and to influence this

 Court into dismissing Plaintiffs claims for lack of subject matter jurisdiction.

        Upon the filing of a Rule 11 motion, “the court may award to the prevailing

 party the reasonable expenses, including attorney’s fees incurred for the motion.”

                                               18
Case 8:23-cv-02333-SDM-AEP Document 37 Filed 03/25/24 Page 20 of 23 PageID 230




 FED.R.CIV.P.11(c)(2). “[T]he filing of a motion for sanctions is itself subject to the

 requirements of the rule and can lead to sanctions.” Smith v. Psychiatric Sols., Inc., 750

 F.3d 1253, 1260 (11th Cir. 2014) (citing FED.R.CIV.P. 11(b)(1)). “Ordinarily, this does

 not require a cross-motion for sanctions, since a court is authorized to award fees to a party

 that successfully opposes a Rule 11 sanctions motion.” Smith, 750 F.3d at 1260

 (emphasis added). “Thus, when a party files a Rule 11 motion for an improper

 purpose, the court may award fees to the target of the motion.” Id.

        Defendant’s sanctions motion is bereft of any legal or evidentiary basis. Rather,

 the Motion is replete with misrepresentations and is contradictory in that it insists that

 the Court and Plaintiff take its phone record evidence regarding the call as true while

 ignoring both the well-pled allegations in the Complaint and the significant evidence

 that Plaintiff has presented. There is no discussion of the TCPA as Defendant neither

 cites to the statute nor discusses the relevant case law. Perhaps not surprisingly,

 Defendant does not include a declaration from its counsel regarding the averments it makes

 against Plaintiff and undersigned counsel in its Motion. The fact that the Motion fails to

 meet the standard for seeking sanctions under Rule 11, ignores the factual evidence

 supporting Plaintiff’s claim, was filed prior to discovery and corresponding with

 Plaintiff’s deadline to respond to the motion to dismiss, all indicates that the motion

 was filed for an improper purpose.

        Unfortunately, the misguided ease with which Defendant’s counsel has hurled

 Rule 11 accusations against Plaintiff and undersigned counsel—particularly after


                                              19
Case 8:23-cv-02333-SDM-AEP Document 37 Filed 03/25/24 Page 21 of 23 PageID 231




 Plaintiff produced substantial evidence supporting his claims and continued to

 cooperate and to communicate with defense counsel throughout the course of this

 case—indicates that they are engaging in precisely the sort of behavior condemned by

 the Eleventh Circuit. Simply put, Rule 11 is not a weapon for intimidating or

 browbeating undersigned counsel to withdraw a pleading or a case with which

 Defendant disagrees. And it is not a procedural artifice to be used to avoid having to

 enter into bilateral discovery or to attempt to influence the Court by way of a summary

 judgment motion dressed up as a Rule 11 motion. Plaintiff should be awarded fees and

 costs for responding to the Motion in order to deter Defendant and defense counsel

 from such deleterious conduct in the future. See, e.g., Claudet v. First Fed. Credit Control,

 Inc., 2015 WL 7984410, at *3 (M.D. Fla. Nov. 17, 2015) (finding motion for sanctions

 filed for an improper purpose and requiring defense counsel to pay plaintiff’s

 reasonable expenses); Selwyn v. Bruck L. Offs., S.C., 2020 WL 13598627, at *4 (M.D.

 Fla. Aug. 19, 2020) (awarding attorney’s fees to respondent because moving party filed

 the Rule 11 Motion for an improper purpose).

                                      CONCLUSION

        Defendant’s motion for sanctions is completely bereft of any factual or legal

 basis. Plaintiff therefore respectfully requests this Honorable Court to (i) deny the

 motion in its entirety, (ii) award his counsel’s costs and fees incurred in having to

 respond to the Motion as the “prevailing party” under FED.R.CIV.P.11(c)(2) and (iii)

 order all such other relief as is equitable and just.


                                              20
Case 8:23-cv-02333-SDM-AEP Document 37 Filed 03/25/24 Page 22 of 23 PageID 232




       Dated: March 25, 2024

                                           By: /s/ Matthew J. Langley
                                           Matthew J. Langley
                                           Florida Bar No. 97331
                                           David S. Almeida*
                                           Britany A. Kabakov*
                                           ALMEIDA LAW GROUP LLC
                                           849 W. Webster Avenue
                                           Chicago, Illinois 60614
                                           (312) 576-3024
                                           matt@almeidalawgroup.com
                                           david@almeidalawgroup.com
                                           brtiany@almeidalawgroup.com

                                           COUNSEL FOR PLAINTIFF
                                           & THE CLASS

                                           *pro hac vice admission




                                      21
Case 8:23-cv-02333-SDM-AEP Document 37 Filed 03/25/24 Page 23 of 23 PageID 233




                             CERTIFICATE OF SERVICE

         I hereby certify that on March 25, 2024, I electronically filed the foregoing

  with the Clerk of the Court using CM/ECF which will send notification of such

  filing to counsel of record.

                                             /s/ Matthew J. Langley
                                             Matthew J. Langley




                                           22
